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                          Exhibit G
   Emails to Counsel for US re request to euthanize
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Manuelpillai, Wesline N

From:                                      Perron, Jeannie
Sent:                                      Thursday, May 26, 2022 6:14 PM
To:                                        Hollingsworth, Mary (ENRD); Razi, Benjamin; Panda, Shampa (ENRD); Giorno, Anthony
                                           (USAVAW)
Cc:                                        Manuelpillai, Wesline N
Subject:                                   RE: United States v. Envigo -- Urgent request-- Confidential

Importance:                                High



Confidential

Dear Counsel:

Pursuant to Paragraph 14 of the May 21, 2022 Temporary Restraining Order, I am seeking consent of counsel
for the United States to allow a veterinarian at the Envigo Cumberland, Virginia facility to perform euthanasia
on a puppy at the facility. The puppy was born on May 5. It weighs 412 g and is approximately half the size of
its littermates. The Attending Veterinarian, Dr. Len Murray, who is board certified in laboratory animal
medicine and in preventive veterinarian medicine, started the litter on Albon to treat yellow, watery
diarrhea. He also prescribed subcutaneous fluids for this puppy BID. The puppy exhibited reddish-brown
tinged vomit this afternoon. Dr. Murray suspects pneumonia and requests permission to euthanize the puppy
ASAP as an animal welfare measure.

Thank you for your attention to this matter.

Jeannie Perron, JD, DVM
Counsel to Envigo



Jeannie Perron, JD, DVM
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Manuelpillai, Wesline N

From:                                      Perron, Jeannie
Sent:                                      Tuesday, May 31, 2022 10:22 AM
To:                                        Hollingsworth, Mary (ENRD); Razi, Benjamin; Panda, Shampa (ENRD); Giorno, Anthony
                                           (USAVAW)
Cc:                                        Manuelpillai, Wesline N
Subject:                                   RE: United States v. Envigo Request to euthanize Confidential

Importance:                                High



Confidential

Dear Counsel:

Pursuant to Paragraph 14 of the May 21, 2022 Temporary Restraining Order, I am seeking consent of counsel
for the United States to allow a veterinarian at the Envigo Cumberland, Virginia facility to perform euthanasia
on a puppy at the facility. Puppy CNCCHR has been diagnosed with pneumonia and not responding to
treatment. Dr. Murray requests permission to euthanize the puppy ASAP as an animal welfare measure.

Thank you for your attention to this matter.

Jeannie Perron, JD, DVM
Counsel to Envigo



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Manuelpillai, Wesline N

From:                                      Perron, Jeannie
Sent:                                      Tuesday, June 7, 2022 3:51 PM
To:                                        Hollingsworth, Mary (ENRD); Razi, Benjamin
Cc:                                        Panda, Shampa (ENRD); Giorno, Anthony (USAVAW); Manuelpillai, Wesline N; John D.
                                           Adams; Brandon M. Santos
Subject:                                   Urgent - euthanasia request

Importance:                                High


Dear Mary

The facility hereby requests urgent concurrence on the euthanasia of 19-day old puppy. It appears the puppy’s
mother bit the puppy and it has a serious facial injury. The puppy is in significant distress. This is a puppy
from dam CJBCJV, puppy no. Puppy220520001A.

Thank you for your urgent attention to this request.

Best,

Jeannie


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